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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK


  KATHY DREW KING, Regional Director
  of Region 29 of the National Labor Relations
  Board, for and on behalf of the NATIONAL
  LABOR RELATIONS BOARD

                              Petitioner
                                                              Case No. 1:22-cv-01479-DG-SJB

  v.


  AMAZON.COM SERVICES LLC
                              Respondent



                    PETITIONER’S MOTION TO CLARIFY ORDER


       I.     INTRODUCTION

            Kathy Drew King, Regional Director of Region 29 (Petitioner), of the National Labor

 Relations Board (NLRB), requests that the Court clarify, in certain respects, its Order granting a

 temporary injunction in this matter and requiring Respondent Amazon.com Services, LLC

 (Respondent) to take certain affirmative actions. (ECF No. 55).

            On November 18, 2022, the Honorable Judge Gujarati issued an Order partially granting

 Petitioner’s request for a temporary injunction pursuant to Section 10(j) of the National Labor

 Relations Act (Act) pending the final disposition of the underlying unfair labor practice case, in

 which an Administrative Law Judge of the NLRB found that Respondent unlawfully discharged

 employee Gerald Bryson in retaliation for engaging in concerted protest activity that was protected

 under Section 7 of the Act. That proceeding is currently pending before the NLRB.


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         In her Memorandum, Judge Gujarati found that there was reasonable cause to believe that

 Respondent violated the Act by discharging Bryson in retaliation for his protected concerted

 activity and that injunctive relief ordering Respondent to cease and desist from discharging

 employees or engaging in like or related conduct was warranted to ensure that Respondent “will

 refrain from engaging in unfair labor practices.”

         In addition, the Court ordered Respondent to take the affirmative steps of posting,

 distributing, and reading the Court’s Order to employees at the JFK8 Facility “as a measure to give

 employees confidence that Respondent will refrain from engaging in unfair labor practices.”

         In addition to imposing upon Respondent an affirmative obligation to cease and desist from

 discharging its employees because they engaged in protected concerted activities and, in any like

 or related manner, interfering with, restraining, or coercing employees in the exercise of their rights

 guaranteed by Section 7 of the Act, the Court directed Respondent to take the following affirmative

 actions, among others:

         2(a)(i).          Within seven (7) days from the date of the Court’s Order, “Post a copy of
                           this Memorandum & Order, including a Spanish-language version (the
                           translation of which is to be paid for by Respondent and approved by the
                           Regional Director of Region 29 of the NLRB), at the JFK8 Facility where
                           Respondent customarily posts notices to its employees; maintain such
                           postings pending the final disposition of the matters before the NLRB in
                           Case No. 29-CA-261755; and grant to agents of the NLRB reasonable
                           access to the JFK8 Facility to monitor compliance with this posting
                           requirement”; and

         2(a)(iii).        By December 7, 2022, 1 “Hold one or more meetings at the JFK8 Facility,
                           scheduled to ensure the widest possible employee attendance, at which
                           a responsible Respondent official, in the presence of an [NLRB] agent, shall
                           read this Memorandum & Order to employees. Such meeting(s) shall be
                           mandatory for all hourly employees at the JFK8 Facility, shall be held
                           during working hours at times when Respondent customarily holds
                           employee meetings, and shall be announced in the same manner in

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  The Court granted the Parties’ Joint Motion to Alter Judgement to Extend Time for Amazon to comply with the
 provisions of Court's Order requiring the public reading of the Court’s Memorandum and Order, such that Respondent
 must comply with Section 2(a)(iii) of the Court’s Order by no later than December 7, 2022. (ECF No. 58).

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                        which Respondent customarily announces employee meetings.
                        Respondent shall ensure that the Spanish-language version of this
                        Memorandum & Order also is read during such meeting(s).

                         (Emphasis added)

          Petitioner seeks to clarify these portions of the Order because Respondent has taken

 actions, and has declared its intention to take additional actions, that contravene the express

 language of the Court’s Order and that flout the clear intent of the Judge Gujarati’s directive.

    II.      CLARIFICATION IS NECESSARY BECAUSE RESPONDENT HAS TAKEN
             ACTION THAT CONTRAVENES THE COURT’S ORDER

          It is evident that Judge Gujarati’s unambiguous Order – directing Respondent to take the

 affirmative steps of posting, distributing and reading the Court’s Order – was not intended as a

 mere empty or symbolic gesture, but is, instead, is an extraordinary remedy meant to speak to the

 wronged employees “as a measure to give employees confidence that Respondent will refrain from

 engaging in unfair labor practices.”

          The actions Respondent has thus far taken and those that it has stated it plans to take in

 response to the Court’s Order not only contravene the clear language of the Order but make a

 mockery of the very purpose and intention of the injunctive relief and affirmative steps ordered by

 this Court. As shown below, Respondent arrogated to itself the authority to change, limit and

 modify the Court’s clear order, propped up by flimsy, transparently false justifications, all

 designed to diminish the remedial impact of the Judge’s Order.

          Respondent should not be permitted to alter and water down the import of the Judge’s

 Order. The Court having found that injunctive relief was just and proper and that Respondent’s

 conduct and equitable principles warranted obligating Respondent to take the affirmative steps of

 posting, distributing and reading the Court’s Memorandum and Order to Respondent’s JFK8




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 employees, it is imperative that Respondent be held to the full force and effect of this Honorable

 Court’s Order.

           As the Court is aware, as part of Respondent’s multi-national online retail business,

 Respondent operates a large warehouse and distribution facility known as “JFK8” in Staten Island,

 New York. The record before the Court establishes that at the JFK8 facility, which is the size of

 14 football fields, Respondent employs over 8,000 workers. The aforementioned provisions of the

 Judge’s Order are clearly intended to ensure that the Court’s Memorandum and Order is distributed

 to most, if not all, JFK8 employees both orally and in physical written form so that employees will

 be assuage employees’ fears and provide some assurance that Respondent will not violate their

 rights.

           A. Respondent Has Not Complied with the Court’s Order Requiring Respondent to
              Physically Post the Court’s Order in Locations Where Respondent Customarily
              Posts Notices to Its Employees

           Judge Gujarati’s Order is clear and unambiguous. Written in the plural, the Court ordered

 Respondent to post the Memorandum and Order in locations “where Respondent customarily posts

 notices to its employees.” The Courd did not limit the physical posting requirement only to those

 locations where Respondent posts other legally required notices at JFK8.

           Attached hereto as Exhibit 1, Petitioner submits the November 29, 2022, Declaration of

 Derrick Palmer, a long-time employee of Respondent at JFK8 and an officer of the Amazon Labor

 Union. Mr. Palmer testifies that on November 25, 2022, he searched for the posting of the Court’s

 Memorandum and Order inside the first-floor break room at JFK8 and only found the Memorandum

 and Order posted on “a bulletin board behind a microwave and an arcade video game machine, in

 a part of the room that no one really goes to.” (Exh. 1, ¶11). Mr. Palmer attaches to his November

 29 Declaration a photo he took on November 25 of the posted Memorandum and Order, which shows

 that the Court’s Memorandum and Order has been posted on a bulletin board alongside various
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 notices from both Respondent and federal and local government agencies. (Exh. 1, Exh. A).

 Petitioner avers that the Court did not intend to permit Respondent to feign compliance with its

 Order by limiting physical posting of the Memorandum and Order to an obscure corner of a single

 break room within the sprawling JFK8 facility.

        Mr. Palmer further testifies that during the course of his employment, Respondent has

 regularly posted notices to employees regarding various work-related matters, including company

 confidentiality policies, workplace safety issues, tax compliance, COVID-19 vaccines, overtime pay,

 and scheduling issues on tables inside the JFK8 break room and inside bathroom stalls at the facility,

 referred to by Respondent and its employees as “Table Toppers” and “InSTALLments,”

 respectively. (Exh.1, ¶12). In addition, Mr. Palmer testified that Respondent posted on the break

 room tables and inside bathroom stalls notices encouraging its employees to refrain from supporting

 the Amazon Labor Union (Id.), a labor organization which, as the Court is aware, has won an NLRB

 election to become certified as the collective-bargaining representative of JFK8 employees.

 Presumably, Respondent regularly and customarily posts notices to employees via the Table Toppers

 and InSTALLments because Respondent wants to ensure that important notices are seen by the

 widest audience of employees. To conclude otherwise is not rational.

        Nevertheless, Mr. Palmer’s Declaration establishes that Respondent has failed to post the

 Court’s Memorandum and Order on the break room tables or inside bathroom stalls at JFK8, as

 required by the plain language of the Order and Respondent’s history of distributing notices to its

 employees. Respondent has refusal to post the Court’s Memorandum and Order in accordance with

 the plain language of the Court’s Order has occurred despite Petitioner’s efforts to explain that

 compliance with the Court’s Order requires such posting. On November 23, 2022, Petitioner, by

 her undersigned counsel, emailed Respondent counsel explaining that compliance with the



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 physical posting provisions of the Court’s order mandates posting on break room tables and

 bathroom stalls and requesting physical posting in that manner because these are locations where

 Respondent customarily posts notices to employees. Respondent counsel replied that Respondent

 is “not inclined” to post or distribute the Court’s Memorandum and Order as requested. Attached

 hereto as Exhibit 2 is a true copy of the November 23 email exchange between Party counsel. On

 November 28, 2022, Petitioner, by her undersigned counsel, again emailed Respondent counsel to

 reiterate that posting on break room tables and in bathroom stalls is necessary to comply with the

 Court’s Order, among other matters addressed. On November 29, 2022, Respondent, by its

 counsel, reiterated its intent not to post the Memorandum and Order as Petitioner requests.

 Attached hereto as Exhibit 3 is a true copy of the November 28 and 29 email exchange between

 Petitioner counsel to Respondent counsel.

        Respondent offered unsupportable, flimsy justifications for its refusal to post the Court’s

 Order in additional locations. Respondent asserts that it is not required to post on the break room

 tables or inside bathroom stalls because it does not typically post “legal notices” in those locations.

 (Exh. 3) (emphasis added). Respondent’s word-play violates the plain language and intent of the

 Court’s Order. First, it is unclear what Respondent means by “legal” notices, and it is not clear

 that other notices posted in the Table Toppers and InSTALLments were not “legal” notices. Next,

 the Court does not limit Respondent’s obligation to post the Order only to locations where it posts

 other “legal notices.” Instead, the Judge’s language is broad – requiring Respondent to post the

 Court’s Memorandum and Order wherever Respondent customarily posts any kind of notices to

 employees. Respondent is improperly seeking to unilaterally add limitations and restrictions on

 the Court’s broad posting Order. Moreover, Respondent’s contention that additional physical

 posting is unnecessary because Respondent electronically distributed the Order flies in the face of



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 the Court’s requirement that Respondent adequately post physically and electronically.

 Respondent’s compliance with the electronic distribution requirements of the Order do not excuse

 it from fully complying with the physical posting requirements. The Court ordered both, and

 Respondent’s unilateral alteration of the Judge’s Order should not be countenanced.

        Respondent’s recalcitrant refusal to post the Court’s Memorandum and Order in locations

 “where Respondent customarily posts notices to its employees,” including on break room tables and

 inside bathroom stalls, leaves Petitioner with no option but to petition this Court to clarify provision

 2(a)(i) of the Court’s Order. Petitioner respectfully requests that the Court amend provision 2(a)(i)

 of the Court’s Order to require Respondent to physical post the Memorandum and Order on each

 table of each break room and inside each bathroom stall at the JFK8 facility. Such clarification of

 the Court’s Order will prevent Respondent from undermining the Court’s intent to ensure widespread

 physical distribution of the Memorandum and Order to JFK8 employees, consistent with

 Respondent’s customary practice of delivering important information to its workforce.

        B. Respondent’s Stated Plan to Convene Meetings To Read the Court’s Memorandum
           and Order to Employees Violates the Plain Language and Intent of the Court Order
           and Is Not Calculated to Ensure the Widest Possible Employee Attendance

        Provision 2(a)(iii) of the Court’s Order obligates a representative of Respondent to publicly

 read the Court’s Memorandum and Order to JFK8 employees. Again, written in clear unambiguous

 language, the Order imposed several important requirements with which Respondent must comply.

 The Court clearly directs Respondent to conduct mandatory meetings:

        1. “scheduled to ensure the widest possible employee attendance”;

        2. “at which a responsible Respondent official, in the presence of an [NLRB] agent,

 shall read” the Memorandum & Order to employees; and

        3. “held during working hours at times when Respondent customarily holds employee

 meetings.”
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        The Order further provides that the NLRB agent’s presence at such meetings may be by

 video, at the option of the NLRB Regional Director.

        Respondent’s stated plan for its purported Order readings violates the plain language, intent

 and purpose of each of the aforementioned requirements of the Order. Specifically, Respondent

 intends to conduct meetings at times that are not “scheduled to ensure the widest possible employee

 attendance,” but instead are designed to minimize attendance, as the meetings have been scheduled

 at times that are not when Respondent customarily conducts mandatory meetings with its employees.

 Respondent also does not plan to announce the meetings in the same manner that it customarily

 announces mandatory staff meetings. Still, Respondent’s most flagrant and brazen attempt to thwart

 the effectiveness of the remedy ordered by the Court is its refusal to actually read the Memorandum

 and Order to its employees. Instead, Respondent has decided that it will just present a pre-recorded

 audio or audio/video of a Respondent official performing the reading. The Court should not permit

 Respondent to proceed in this manner.

                1. Respondent’s Planned Timing of Order-Reading Meetings Does Not Ensure
                   Widest Possible Employee Attendance

        Respondent has notified Petitioner that it plans to convene meetings to “read” the Court’s

 Memorandum and Order to employees by an as-yet unidentified Respondent official according to

 the following schedule:

        Thursday, December 1: separate, simultaneous meetings in English and
        Spanish, respectively, at 6:30 a.m., 7:15 a.m., 8:15 a.m., 6:00 p.m., 6:45
        p.m., and 7:30 p.m.

        Saturday, December 3: separate, simultaneous meetings in English and
        Spanish, respectively, at 8:15 a.m.

        Monday, December 5: separate, simultaneous meetings in English and
        Spanish, respectively, at 6:30 a.m., 7:15 a.m., 8:15 a.m., 6:00 p.m., 6:45
        p.m., and 7:30 p.m.

        Attached hereto as Exhibit 4 is a true copy of Respondent’s proposed schedule.

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        The times that Respondent proposes to conduct the meetings required by the Court’s Order

 do not “ensure the widest possible employee attendance,” as directed by the Court. Instead,

 Respondent’s proposed times appear designed to minimize attendance. In that regard, Respondent’s

 planned meeting times coincide with the “shift swap” periods at JFK8 “when thousands of workers

 are arriving and leaving the massive JFK8 facility.” (Exh. 1, ¶6). Employee Palmer testifies that

 “There is always chaotic foot traffic in the warehouse during shift swaps,” as employees “are

 rushing to enter and leave the facility at the same time.” (Id.) This chaotic time of the workday is

 not the appropriate time to hold a meeting designed to “ensure the widest possible employee

 attendance.”

        Furthermore, Mr. Palmer testifies that, in his experience, many employees do not arrive

 promptly at the start of their assigned shift and that employees typically use accrued Unpaid Time

 (UPT) during the current Holiday peak season, to avoid working the mandatory twelve-hour shifts

 that Respondent demands of JFK8 employees during the current Holiday peak season. (Exh. 1, ¶¶5,

 7). Rather, Palmer testifies that employees who use their UPT to miss the beginning part of their

 shift commonly arrive at the facility by the first break period for the shift, which in the case of

 Palmer’s day shift occurs from 10:00 a.m. to 10:30 a.m. (Exh. 1, ¶¶2, 5, 7). Thus, holding meetings

 during the beginning of a shift ensures that a significant contingent of late-arriving employees will

 miss the meetings, which is a far cry from the Court’s directive that the meetings be “scheduled to

 ensure the widest possible employee attendance.”

        Respondent’s planned timing of the meetings directed by the Court also stands at odds with

 Respondent’s customary timing staff-wide meetings. Palmer testifies that Respondent frequently

 convenes mandatory “all hands” meetings for all workers in the facility, and such meetings have

 always been conducted during the middle of Palmer’s day shift, between the employees’ first break



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  and their lunch break. (Exh. 1, ¶4). The last “all hands” meeting at JFK8 was in early November

  2022. (Id.) Palmer cannot recall a single instance where an “all hands” meetings was scheduled

  during the beginning of his shift. (Id.) Instead, Respondent typically holds “all hands” meetings

  in the middle part of the employees’ shift because Respondent knows that such scheduling will

  have far greater employee attendance at a meeting that starts later in their shift, when employees

  are settled into their assigned workstations, as opposed to close to the chaotic start or end of the

  shift. (Exh. 1, ¶5). Here again, Respondent’s planned timing of the meetings fails to comply with

  yet another express provision of the Court’s Order requiring that the meetings be scheduled “at

  times when Respondent customarily holds employee meetings.” Respondent has offered no

  explanation for its insistence on scheduling the meetings during the shift swap, as opposed to its

  customary timing for “all hands” meetings. (Exh. 3). When Respondent wants the widest possible

  employee attendance at meetings, it clearly knows when and how to schedule them. It’s refusal to

  schedule the Order readings at the same times as it customarily conducts its “all hands” meetings

  again exposes Respondent’s intention to minimize employee attendance, in contravention of this

  Court’s Order.

         In sum, Respondent’s plan to conduct the Court-ordered meetings at irregular times when

  employees are frequently not at work and are scrambling to enter and exit the facility appears to

  be deliberately intended not to “ensure the widest possible employee attendance,” and the Court

  should not countenance such defiance of its Order. Petitioner respectfully requests that the Court

  clarify its Order to specifically direct Respondent to conduct meetings during the middle part of its

  employees’ shifts, sometime between the employees’ first break and their meal period, in accordance

  with the time that Respondent customarily schedules mandatory “all hands” meetings




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                 2. The Order Does Not Permit Respondent to Present the Court’s Memorandum and
                    Order to Employees via Pre-Recorded Audio or Video

         Respondent has notified Petitioner that Respondent will not conduct a live reading of the

  Court’s Memorandum and Order, but instead will only play a pre-recorded “audio or audio / video”

  of a yet unnamed Respondent official reading the Memorandum and Order. (Exh. 3). There can be

  no question that Respondent’s plan to play a pre-recorded audio or video of the reading blatantly

  flouts the Court’s Order. Nowhere in the Order does the Court state that Respondent is permitted to

  conduct the required reading via pre-recorded audio or video. Instead, the only video appearance

  countenanced by the Court’s Order is the remote appearance of an NLRB agent, should the NLRB

  decide that is appropriate. In addition to there being nothing in the plain language of the Court’s

  Order to suggest that Respondent could substitute a live reading the Order with an audio or video

  recording, Respondent’s plan severely undermines the important purpose of the Judge granting the

  extraordinary remedy of injunctive relief “as a measure to give employees confidence that Respondent

  will refrain from engaging in unfair labor practices.” By presenting a mere recording, Respondent

  would send a very different message to employees than that which the Court intended – a message of

  flippant disregard and disdain, not only for employees’ rights, but also for the enforcement mechanisms

  of the NLRB and the authority of this Court. The clear intent of the Court’s Order is for a responsible

  Respondent official to conduct a live, in-person reading, and Respondent must be required to

  comply.

         Respondent’s purported bases for conducting a canned “audio and/or video” presentation, as

  opposed to the live reading by a responsible representative of Respondent envisioned by the Court’s

  Order, are absurd and plainly fail to provide adequate grounds to allow Respondent to flout the spirit

  of the Order. First, Respondent claims that it would be “unreasonable to have an individual read a

  30-page document 6 times on 2 days and 2 times on a third day.” (Exh. 3) This is a clear red herring,


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  as nothing in the Court’s Order requires a single Respondent official to perform the readings even if

  multiple meetings are scheduled. Respondent may assign different responsible officials to read the

  Order at various meetings, as there are numerous responsible officials who work at JFK8. To the

  extent that Respondent is genuinely concerned about its officials suffering from fatigue during the

  course of the required readings, Respondent may avail itself of the alternative provided by the Court

  to have an NLRB agent read the Memorandum and Order.

         Second, Respondent asserts that playing a recording will ensure “consistent delivery of the

  message and will ensure that all meetings are of approximately the same length.” (Exh. 3). This

  claim is nonsensical and devoid of merit, as consistent delivery of the Court’s Memorandum and

  Order will be ensured by a complete and faithful reading of the document. Consistency is inherent

  in the Judge’s order, as readers will all read the same words of the Court. Furthermore, there is no

  requirement that the meetings convened for purposes of complying with the Court’s Order be of

  equal length. Thus, Respondent’s arguments in this regard here are plainly of no moment.

         Next, Respondent claims, without any substantiation, that it fears the meetings will be

  “disrupted” by the employees in attendance. Respondent has no basis to believe that employees

  will heckle or otherwise interfere with the delivery of the reading ordered by the Court, and its

  baseless suggestion otherwise smacks of Respondent’s usual racist dog-whistling and disparagement

  toward workers. Even if such heckling were likely to occur – which is actually not likely because

  employees will welcome the Court’s message reassuring them of their rights – that should not excuse

  Respondent from complying with the Court’s Order requiring a live, in-person reading by a

  responsible Respondent official or an NLRB agent. Respondent should be expected to administer

  these meetings in the same manner as it administers other mandatory staff meetings. Thus, if an

  attendee disrupts one of the Court-ordered meetings, then Respondent should expel the offending



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  individual from the meeting and ensure that the speaker’s message is conveyed clearly and without

  interruption, as it presumably would do if an employee tried to disrupt any other mandatory staff

  meeting. Here again, Respondent is improperly attempting to render the readings ordered by the

  Court different and less momentous than the mandatory staff meetings Respondent customarily

  conducts, to limit the impact of the Court’s Order. Respondent knows that live readings by

  Respondent representatives would be meaningful to employees and is deliberately trying to dilute

  the impact of the readings. The Court must not allow this.

            Finally, Respondent feebly asserts that “a recording will ensure that the Memorandum and

  Order are read in their entirety at each meeting.” This is nonsense. Respondent can ensure that the

  Memorandum and Order is read in its entirety simply by requiring its official performing the reading

  to completely and faithfully read the document, or by allowing an NLRB agent to perform the

  reading.

            Respondent offers no valid basis for its stated plan to disregard the clear intent of the Court’s

  Order directing a live, in-person reading of the Memorandum and Order. Petitioner respectfully

  urges the Court clarify its Order and direct Respondent to comply with the Order by having one (or

  more) of its responsible officials read the Court’s Order in person to JFK8 employees or allow an

  NLRB agent to do so in the presence of the Respondent official.

     III.       CONCLUSION

            For the foregoing reasons, Petitioner respectfully requests that the Court clarify and/or

  amend provisions 2(a)(i) and 2(a)(iii) of its November 18, 2022 Order to require that Respondent

  physically post the Court’s Memorandum and Order in all locations where Respondent customarily

  posts notices to its employees, including on break room tables (Table Toppers) and inside

  bathroom stalls (InSTALLments) at the JFK8 facility, and schedule meetings for the purpose of



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  having employees hear a live, in-person reading of the Court’s Memorandum and Order during

  the middle of the employees’ shifts (between employees’ first break and meal break), in the same

  manner that it has customarily scheduled “all hands” meetings. As demonstrated above, without

  such clarification, Respondent’s bad faith plan to comply with the Court’s Order will deprive

  thousands of employees the opportunity to receive the remedies ordered by the Court. Petitioner

  respectfully urges the Court to rule upon this Motion expeditiously in light of Respondent’s plan

  to begin conducting Order reading meetings this Thursday, December 1.



  Dated: November 30, 2022.


                                              _________________________________
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                                              Evamaria Cox
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                                Exhibit 1
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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF NEW YORK

  --------------------------------------------------------- X
  KATHY DREW KING,

  Regional Director of Region 29 of the National
  Labor Relations Board for and on behalf of the                Case No.: 1:22-cv-01479-DG-SJB
  National Labor Relations Board,

                                            Petitioner,

     v.

  AMAZON.COM SERVICES LLC,

                                            Respondent.
  --------------------------------------------------------- X


                                DECLARATION OF DERRICK PALMER


  I, Derrick Palmer, being duly sworn, deposes and states as follows:

          1.       I am currently employed at Amazon’s JFK8 Fulfillment Center in Staten Island,

  NY (“JFK8”) as a Warehouse Associate. I started working for Amazon in or around July 2015. I

  have worked at JFK8 since October 2018. Previously, I worked for Amazon at its facility in

  Robbinsville Township, New Jersey, until I transferred to JFK8 in October 2018.

          2.       Amazon is currently using its Mandatory Extra Time (“MET”) schedule for the

  holiday peak season, so I am now scheduled to work from 6:45 a.m. until 6:15 p.m., Wednesday

  through Saturday. I have a 30-minute paid break from 10:00 a.m. to 10:30 a.m. and a 30-minute

  unpaid lunch break from 2:00 p.m. to 2:30 p.m.

          3.       My work schedule is Wednesday through Saturday which is called the back-half

  day shift. There are two other full-time day-shift schedules: front-half day working Sunday through

  Wednesday, and donut day working Monday, Tuesday, Thursday and Friday. There are three

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  corresponding night shifts that follow the same weekly schedules: front-half night, back-half night,

  and donut night. There are also reduced time “RT” shifts, where employees only work Thursday

  through Sunday as well as part time shifts that are only on the weekends.

          4.      During the course of my employment, Amazon has scheduled “all hands” meetings

  for their employees at the JFK8 facility about every three months. As far as I know, the “all hands”

  meetings are mandatory for all workers in the facility and these meetings have always taken place

  between the first break and the lunch break in the large breakroom on the first floor of the facility.

  By scheduling these meetings at that time, Amazon can have the maximum number of employees

  attending their “all hands” meetings. I do not remember an “all hands” meeting ever being

  scheduled at the beginning of the workday. The most recent “all hands” meeting was around the

  beginning of November.

          5.      I believe the reason Amazon has historically scheduled their “all hands” meetings

  between the first break and the lunch break is because they know they will be able to have more

  workers attend a meeting if it takes place a little later in their shift. Many workers are not yet in

  the facility at the very start of a shift, but most workers have arrived by the time of the first break.

  It is also easier to communicate with workers about a mandatory meeting once everyone is at their

  stations working, instead of when everyone is arriving to and leaving from the facility.

          6.      If Amazon needs to schedule public readings of the Judge’s Memorandum and

  Order in this case, I think Amazon should schedule those meetings after the first break and before

  lunch at the same time as they schedule their “all hands” meetings so there can be maximum

  attendance. This is because it takes a couple hours for everyone to get to the facility and to get

  settled into the workday. Scheduling the meetings at the very beginning of a shift would ensure

  that not all workers are in attendance. Amazon’s proposed readings are scheduled to occur during



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  the “shift swap” periods in the warehouse, when thousands of workers are arriving and leaving the

  massive JFK8 facility. There is always chaotic foot traffic in the warehouse during shift swaps,

  especially during peak season when Amazon is overstaffed and thousands of workers are rushing

  to enter and leave the facility at the same time.

         7.      At the beginning of my shifts during peak season, I know there are many workers

  arriving late. Over the course of the year, Amazon employees accrue hours of Paid Time Off

  (“PTO”) and Unpaid Time (“UPT”) which they can apply to excuse absences from the facility,

  late arrivals, or early departures. Many workers save their PTO and UPT throughout the year so

  they can use it at the beginning of their shifts during peak season. The MET schedule has very

  long workdays and a higher than usual volume of work, so exhaustion and fatigue are big problems

  for workers. In order to give themselves a little extra rest in the mornings, and to avoid the chaos

  of shift swap, many workers use UPT or PTO to arrive a little late to their shifts during peak season.

         8.      Amazon has also been overstaffed lately, so they have been offering workers

  Voluntary Time Off (“VTO”) at the beginning of shifts so they can get an unpaid day off from

  work without penalty. Sometimes workers arrive at the facility and then immediately request VTO.

  Amazon will also sometimes send text messages out to employees offering VTO, sometimes as

  late as a couple hours before the start of the workday. I don’t think Amazon should be allowed to

  offer VTO to workers on days that the public readings are scheduled.

         9.      To the best of my recollection, before every prior “all hands” meeting at JFK8, I

  have received a message on the screen at my workstation directing me to leave my station and

  report to the breakroom for a mandatory meeting. Amazon management can send a message that

  pops up on every screen at every workstation in order to share information with workers. I believe




                                                      3
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  this message is called a “Fan” message, but I do not know why it is called that. I believe I have

  received a “Fan” message before every “all hands” meeting at JFK8.

         10.     The beginning of the scheduled shifts at JFK8 are always a very hectic time with

  lots of foot traffic, so notifying workers about a mandatory meeting, especially one taking place at

  an unusual time, will be difficult. At the beginning of my shift, it usually takes more than 30

  minutes, sometimes up to one hour after I clock in, before I am assigned to a workstation. The

  beginning of the day usually has a stand-up meeting with small teams and then there is a queue of

  workers waiting in the stand-up area of the facility so they can be assigned to a station by a manager

  or a Process Assistant. During peak season this year I have often been in very long lines waiting

  for a workstation. I do not believe that I would be at a workstation within 30 minutes of the start

  of my shift, and therefore I don’t think I would be likely to receive a “Fan” message before a

  meeting scheduled to take place 30 minutes after the start of my shift.

         11.     On Saturday, November 25, 2022, I went to the first-floor breakroom to try to find

  a posting of the Judge’s Memorandum and Order from this case. There is a bulletin board behind

  a microwave and an arcade video game machine, in a part of the room that no one really goes to,

  where I found the Memorandum and Order tacked to the wall. I took a picture of the bulletin board

  that day, and a copy of that photo is attached hereto as Exhibit A.

         12.     There are many places within the JFK8 facility where Amazon shares notices with

  its employees. In my opinion, the most effective locations where workers can see and read these

  notices would be next to Amazon’s weekly “InSTALLments” fliers, which are posted in every

  bathroom of the JFK8 facility, and on table-topper stands on the tables in the breakrooms. Amazon

  has shared information in these two places about the company’s confidentiality policies, workplace

  safety issues, tax forms, COVID-19 vaccines, overtime pay, break changes, and MET schedules.



                                                    4
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                   EXHIBIT A
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                    EXHIBIT B
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                                Exhibit 2
Case 1:22-cv-01479-DG-SJB Document 59 Filed 11/30/22 Page 44 of 56 PageID #: 6732


   From:             Murphy, Christopher J.
   To:               Jackson, Matthew
   Cc:               Rosenblatt, Richard G.
   Subject:          RE: Order Posting
   Date:             Wednesday, November 23, 2022 2:05:18 PM




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   Matt:

   I had a chance to discuss briefly with the Amazon folks. They are not inclined to post/distribute as
   described below. I’m happy to explain our reasons if you want to chat.

   Chris
   Christopher J. Murphy
   Morgan, Lewis & Bockius LLP
   1701 Market Street | Philadelphia, PA 19103-2921
   Direct: +1.215.963.5601 | Cell: +1.267.307.1024 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
   christopher.murphy@morganlewis.com | www.morganlewis.com
   Assistant: Rose Ruoff | +1.215.963.5099 | rose.ruoff@morganlewis.com


   From: Jackson, Matthew <Matthew.Jackson@nlrb.gov>
   Sent: Wednesday, November 23, 2022 1:38 PM
   To: Murphy, Christopher J. <christopher.murphy@morganlewis.com>
   Subject: RE: Order Posting

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   Chris:

   Re Physical Posting:
   The NLRB believes that compliance would require physical distribution of the Memorandum and
   Order in the break rooms at JFK8, similar to the manner in which Amazon distributed “table top”
   bulletins as part of its campaign in opposition to the Union during the pre-election period at JFK8.

   We also believe that physical posting should include posting inside bathroom stalls at JFK8, similar to
   the manner in which Amazon distributed “INSTALLments” bulletins during the pre-election period.

   Does Amazon agree to physically post the Memorandum and Order in the bathroom stalls and
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   distribute them in the break rooms, in addition to posting them alongside other employment
   related notices (e.g., minimum wage postings)?


   I will get back to you shortly re the letter to the Court you requested.

   -Matt


   From: Murphy, Christopher J. <christopher.murphy@morganlewis.com>
   Sent: Wednesday, November 23, 2022 11:26 AM
   To: Jackson, Matthew <Matthew.Jackson@nlrb.gov>
   Subject: Re: Order Posting



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   I can talk at 12 if you are available.  



   From: Jackson, Matthew <Matthew.Jackson@nlrb.gov>
   Sent: Wednesday, November 23, 2022 10:15:04 AM
   To: CHRISTOPHER.MURPHY@MORGANLEWIS.COM <christopher.murphy@morganlewis.com>
   Subject: RE: Order Posting

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   Chris:

   Following up on your question below, I can confirm that the NLRB’s position is that physical posting
   and electronic distribution of the Court’s Order only (and not the preceding Memorandum)
   sufficiently complies with the Order.

   Regards,

   Matt Jackson
   Field Attorney
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   National Labor Relations Board
   Region 29
   2 MetroTech Center, 5th Floor
   Brooklyn, NY 11201
   (718) 765-6202




   From: Murphy, Christopher J. <christopher.murphy@morganlewis.com>
   Sent: Tuesday, November 22, 2022 5:44 PM
   To: Jackson, Matthew <Matthew.Jackson@nlrb.gov>
   Subject: RE: Follow Up Call



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   Can you clarify one thing before the call? Regarding the posting, we intend to post the order only,
   consistent with the scope of the reading. Agreed?

   Chris
   Christopher J. Murphy
   Morgan, Lewis & Bockius LLP
   1701 Market Street | Philadelphia, PA 19103-2921
   Direct: +1.215.963.5601 | Cell: +1.267.307.1024 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
   christopher.murphy@morganlewis.com | www.morganlewis.com
   Assistant: Rose Ruoff | +1.215.963.5099 | rose.ruoff@morganlewis.com

   -----Original Appointment-----
   From: Jackson, Matthew <Matthew.Jackson@nlrb.gov>
   Sent: Tuesday, November 22, 2022 5:33 PM
   To: Murphy, Christopher J.
   Subject: Accepted: Follow Up Call
   When: Wednesday, November 23, 2022 1:00 PM-1:30 PM (UTC-05:00) Eastern Time (US & Canada).
   Where:

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                                Exhibit 3
Case 1:22-cv-01479-DG-SJB Document 59 Filed 11/30/22 Page 49 of 56 PageID #: 6737


   From:             Murphy, Christopher J.
   To:               Jackson, Matthew
   Cc:               Rosenblatt, Richard G.
   Subject:          RE: Details of Physical Distribution of Court"s Memo and Order and Proposed Communication Schedule
   Date:             Tuesday, November 29, 2022 2:34:45 PM




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   Matt:

   Please see my highlighted inline responses to the issues you raise.

   Chris
   Christopher J. Murphy
   Morgan, Lewis & Bockius LLP
   1701 Market Street | Philadelphia, PA 19103-2921
   Direct: +1.215.963.5601 | Cell: +1.267.307.1024 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
   christopher.murphy@morganlewis.com | www.morganlewis.com
   Assistant: Rose Ruoff | +1.215.963.5099 | rose.ruoff@morganlewis.com


   From: Jackson, Matthew <Matthew.Jackson@nlrb.gov>
   Sent: Monday, November 28, 2022 3:38 PM
   To: Murphy, Christopher J. <christopher.murphy@morganlewis.com>
   Cc: Sara Kalis <sbkalis@amazon.com>; Rosenblatt, Richard G.
   <richard.rosenblatt@morganlewis.com>; Cox, Evamaria <Evamaria.Cox@nlrb.gov>
   Subject: RE: Details of Physical Distribution of Court's Memo and Order and Proposed
   Communication Schedule

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      standards for CUI.


   Hello Chris,

   The NLRB has reviewed the Spanish translation of the full District Court Memorandum and Order,
   and we confirm that no material changes that affect the meaning of the document need to be
   made. Our translator spotted a few minor corrections, but we do not believe it is necessary for you
   to re-post the corrected Spanish version. 
Thank you.

   However, in regard to physical posting of the Court’s Decision and Order, we would like to again
   reiterate our position that compliance requires posting the Decision and Order on “table toppers”
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   (the free-standing plexiglass stands used to display Amazon’s announcements and information)
   placed on each table in each breakroom at JFK8, as well as in the “InSTALLments” within each
   bathroom stall in employee bathrooms at the Facility. These are locations where Amazon regularly
   posts and distributes notices, including work-related announcements and information and materials
   expressing Amazon’s opposition to unionization. Compliance with the portion of the Court’s Order
   requiring Amazon to post the Memorandum and Order “where Respondent customarily posts
   notices to its employees” includes posting on breakroom tables and in InSTALLments because that is
   a method of dissemination that Amazon regularly, customarily uses to reach its employees. Please
   let me know if Amazon will re-consider its position with respect to distributing the Court’s
   Memorandum and Order on breakroom tables and InSTALLments. 
Amazon is not inclined to
   reconsider its position on this issue for the following reasons, among others. Amazon does not post
   legal notices in table toppers or InSTALLments; the Memorandum and Order are posted where legal
   notices are posted. The table toppers or InSTALLments are not closed and the contents can be
   removed, defaced or disposed of. Placing copies of the Memorandum and Order in those locations
   won’t increase distribution or access (employees have already received 2 direct electronic
   communications providing them immediate 24/7 access to those documents), it will simply impose
   an unmanageable compliance and logistics burden.

   In addition, we still have concerns about the timing and method by which you have said that Amazon
   intends to conduct the Order Reading meetings. Based on information gathered from employees
   who work on varying shifts and days, we continue to believe that the times you’ve selected are not
   calculated to ensure the widest possible attendance by employees, as required by the Court’s Order,
   because they occur at the beginning and/or end of employees’ shifts, during times when they are
   more likely to be absent in comparison to a time at during the middle of the shift. We believe that
   compliance requires conducting the Order Reading meetings mid-shift. We propose that meetings
   be held between the first scheduled break and the meal period for the day shift and between the
   first scheduled break and meal period for the night shift on two different dates on or before 12/7.
   This timing would align with our understanding of the timing of Amazon’s last “All Hands” meetings
   held on about 11/1/22, in order to comply with the provision of the Court’s Order requiring Amazon
   to convene the meetings “at times when Respondent customarily holds employee meetings.” Please
   tell me if Amazon is willing to change its plans regarding the timing of these meetings in light of our
   concerns. Amazon is not inclined to reconsider its position on this issue for the following reasons,
   among others. The meetings scheduled by the Company will start 45 minutes into the start of the
   shift. This start time was selected to address your concern regarding late arriving employees. Every
   employee scheduled on the 3 workdays Amazon proposes to conduct meetings will have the chance
   to attend a meeting.

   Also, I want to again reiterate here our position that compliance requires a live reading of the
   Court’s Memorandum and Order, and not a pre-recorded video of the reading. The Order plainly
   requires a responsible Amazon official (or an NLRB agent) to read the Memorandum and Order at
   the meeting, not at a separate location to be later displayed at the meeting, and the only video
   appearance at these meetings contemplated by the Court’s Order is the remote participation of an
   NLRB agent. A video presentation clearly violates the language and intention of a reading by an
   Amazon representative. Please let me know whether Amazon intends to comply with the Court’s
   Order by conducting live readings, as required. 
Amazon is not inclined to reconsider its position on
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   this issue for the following reasons. Amazon plans to have a responsible person present for the
   duration of each meeting. Amazon plans to play an audio or audio/video recording of the
   Memorandum and Order at each meeting because: (1) it is unreasonable to have an individual read
   a 30 page document 6 times on 2 days and 2 times on a third day; (2) playing a recording will insure
   consistent delivery of the message and will ensure that all meetings are of approximately the same
   length; (3) Amazon expects some level of disruption by attendees. Rather than subject a live reader
   to a “heckler’s veto” (or worse), Amazon can continue to play a recording without potential
   interruption; and (4) a recording will ensure that the Memorandum and Order are read in their
   entirety at each meeting.

   In the event that you fail to revise your current stated plan of compliance, the NLRB will consider
   raising each of the above issues with the Court in advance of Amazon’s requirement to submit an
   affidavit of compliance.

   We are also requesting information regarding how Amazon intends to announce the Order Reading
   meetings to employees in order to ensure that Amazon complies with the provision of the Court’s
   Order requiring that the meetings “be announced in the same manner in which Respondent
   customarily announces employee meetings.” 
Amazon will advise employees of the meetings at the
   start of their shifts.

   If you prefer to discuss these issues over the phone, please let me know when you would be
   available to speak.

   Thank you,

   Matt Jackson
   Field Attorney
   National Labor Relations Board
   Region 29
   2 MetroTech Center, 5th Floor
   Brooklyn, NY 11201
   (718) 765-6202




   From: Murphy, Christopher J. <christopher.murphy@morganlewis.com>
   Sent: Friday, November 25, 2022 1:30 PM
   To: Jackson, Matthew <Matthew.Jackson@nlrb.gov>
   Cc: Sara Kalis <sbkalis@amazon.com>; Rosenblatt, Richard G.
   <richard.rosenblatt@morganlewis.com>
   Subject: RE: Details of Physical Distribution of Court's Memo and Order and Proposed
   Communication Schedule



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      nlrbirc@nlrb.gov.


   Confirming our call of moments ago, Amazon will attach the Spanish and English versions of the
   Memo and Order to the email notification its sends to associates later today. Also, Amazon will
   electronically distribute and physically post the Spanish language version provided to you earlier
   today. Given that we obtained a professional, third-party translation, we don’t expect that the
   translation contains any material mistranslations (or any other sort of error). If your review discloses
   any material issue, please contact me at your earliest convenience.

   Thank you.

   Chris
   Christopher J. Murphy
   Morgan, Lewis & Bockius LLP
   1701 Market Street | Philadelphia, PA 19103-2921
   Direct: +1.215.963.5601 | Cell: +1.267.307.1024 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
   christopher.murphy@morganlewis.com | www.morganlewis.com
   Assistant: Rose Ruoff | +1.215.963.5099 | rose.ruoff@morganlewis.com


   From: Jackson, Matthew <Matthew.Jackson@nlrb.gov>
   Sent: Friday, November 25, 2022 11:04 AM
   To: Murphy, Christopher J. <christopher.murphy@morganlewis.com>
   Subject: Re: Details of Physical Distribution of Court's Memo and Order and Proposed
   Communication Schedule

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   Thank you, Chris.


   From: Murphy, Christopher J. <christopher.murphy@morganlewis.com>
   Sent: Friday, November 25, 2022 10:53:44 AM
   To: Jackson, Matthew <Matthew.Jackson@nlrb.gov>
   Cc: Sara Kalis <sbkalis@amazon.com>; Rosenblatt, Richard G.
   <richard.rosenblatt@morganlewis.com>
   Subject: Details of Physical Distribution of Court's Memo and Order and Proposed Communication
   Schedule



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      nlrbirc@nlrb.gov.


   Matt:

   As we discussed a short while ago, below is the electronic distribution and physical posting Amazon
       will accomplish today. I’ve also attached a soft copy of the Spanish translation of the Memo and
       Order. Please let me know ASAP if you have any edits to that document.

           Electronic distribution of electronic notice by EOD 11/25/22
                  Post 30-page Memo and Order on A to Z in English and Spanish
                  Email notification of the posting on A to Z
                  Text notification of the posting on A to Z
           Physical posting of Memo and Order by EOD 11/25/22
                  Post 30-page Memo and Order on A to Z in English and Spanish
                  Staple all 30 pages and post in the 3 breakrooms near other legal-compliance notices
                  (i.e. OSHA, etc.)

   You asked whether Amazon would consider attaching the Memo and Order in English and Spanish to
   the email going to associates. I’ll check with Amazon and get back to you. You also indicated that
   the Region may not consider Amazon’s plan to be full compliance with the Court’s order because
   Amazon is not further distributing/posting the Memo and Order in English and Spanish in the
   manner previously requested.   

   We also discussed the logistics of the reading of the Memo and Order in English and Spanish next
   week. I’ve attached a draft schedule consistent with our discussion. As I indicated, a responsible
   Amazon representative would be present at each reading. For the reasons we discussed, Amazon
   would prefer to play a prerecorded reading of the Memo and Order in English to the English
   language meetings and in Spanish to the Spanish language meetings. You expressed the Region’s
   opposition to that approach. I’ll share your perspective on this with Amazon.

   Chris
   Christopher J. Murphy
   Morgan, Lewis & Bockius LLP
   1701 Market Street | Philadelphia, PA 19103-2921
   Direct: +1.215.963.5601 | Cell: +1.267.307.1024 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
   christopher.murphy@morganlewis.com | www.morganlewis.com
   Assistant: Rose Ruoff | +1.215.963.5099 | rose.ruoff@morganlewis.com



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                                Exhibit 4
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         Session             Day              Date        Language       Time
   Day Shift - Inbound     Thursday         12/1/2022      English   06:30 - 0700
   Day Shift - Inbound     Thursday         12/1/2022      Spanish   06:30 - 0700
  Day Shift -Outbound 1    Thursday         12/1/2022      English   07:15 - 07:45
  Day Shift -Outbound 1    Thursday         12/1/2022      Spanish   07:15 - 07:45
  Day Shift -Outbound 2    Thursday         12/1/2022      English   08:15 - 08:45
  Day Shift -Outbound 2    Thursday         12/1/2022      Spanish   08:15 - 08:45
  Night Shift - Inbound    Thursday         12/1/2022      English   18:00 - 18:30
  Night Shift - Inbound    Thursday         12/1/2022      Spanish   18:00 - 18:30
 Night Shift -Outbound 1   Thursday         12/1/2022      English   18:45 - 19:15
 Night Shift -Outbound 1   Thursday         12/1/2022      Spanish   18:45 - 19:15
 Night Shift -Outbound 2   Thursday         12/1/2022      English   19:30 -20:00
 Night Shift -Outbound 2   Thursday         12/1/2022      Spanish   19:30 -20:00
   Day Shift - Part Time   Saturday         12/3/2022      English   08:15 - 08:45
   Day Shift - Part Time   Saturday         12/3/2022      Spanish   08:15 - 08:45
   Day Shift - Inbound     Monday           12/5/2022      English   06:30 - 0700
   Day Shift - Inbound     Monday           12/5/2022      Spanish   06:30 - 0700
  Day Shift -Outbound 1    Monday           12/5/2022      English   07:15 - 07:45
  Day Shift -Outbound 1    Monday           12/5/2022      Spanish   07:15 - 07:45
  Day Shift -Outbound 2    Monday           12/5/2022      English   08:15 - 08:45
  Day Shift -Outbound 2    Monday           12/5/2022      Spanish   08:15 - 08:45
  Night Shift - Inbound    Monday           12/5/2022      English   18:00 - 18:30
  Night Shift - Inbound    Monday           12/5/2022      Spanish   18:00 - 18:30
 Night Shift -Outbound 1   Monday           12/5/2022      English   18:45 - 19:15
 Night Shift -Outbound 1   Monday           12/5/2022      Spanish   18:45 - 19:15
 Night Shift -Outbound 2   Monday           12/5/2022      English   19:30 -20:00
 Night Shift -Outbound 2   Monday           12/5/2022      Spanish   19:30 -20:00
